      Case 4:19-cv-06669-JST Document 43 Filed 05/21/20 Page 1 of 3



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 8
                        UNITED STATES DISTRICT COURT
 9
                      NORTHERN DISTRICT OF CALIFORNIA
10
                                   OAKLAND DIVISION
11
12
13   ROBERT ROSS, an individual,             Case No. 4:19-cv-06669 (JST)
14                    Plaintiff,
15   vs.                                     [PROPOSED] ORDER GRANTING
                                             MOTION TO SUBSTITUTE
16   AT&T MOBILITY, LLC,                     COUNSEL
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                     Defendant
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       Case 4:19-cv-06669-JST Document 43 Filed 05/21/20 Page 2 of 3



 1                                        ORDER
 2         The Court, having reviewed the Motion to Substitute Counsel of plaintiff
 3   Robert Ross (“Ross”), finding good cause, hereby GRANTS the motion as
 4   follows:
 5         Christopher Grivakes and Damion Robinson of Affeld Grivakes LLP are
 6   hereby substituted as counsel for Ross in place of John M. Pierce and Andrew M.
 7   Calderon of Pierce Bainbridge Beck Price & Hecht LLP. Mr. Robinson and Mr.
 8   Grivakes may appear as counsel of record for Ross in all future proceedings. The
 9   Court’s records and CM/ECF file shall be updated accordingly.
10         IT IS SO ORDERED.
              May 21, 2020
11   Dated:
12
                                            The Honorable Jon S. Tigar
13                                          UNITED STATES DISTRICT JUDGE
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                          Order Granting Motion to Substitute Counsel
       Case 4:19-cv-06669-JST Document 43 Filed 05/21/20 Page 3 of 3



 1                             CERTIFICATE OF SERVICE
 2         I, the undersigned, hereby certify that I caused the foregoing document to
 3   be electronically filed using the Court’s CM/ECF system. I am informed and
 4   believe that electronic filing through the CM/ECF system results in electronic
 5   service on counsel for all interested parties.
 6   Dated: May 19, 2020
                                                      Damion Robinson
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                            Order Granting Motion to Substitute Counsel
